            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   No. 1:14-cv-00954-LCB-JLW

STUDENTS FOR FAIR                         )
ADMISSIONS, INC.,                         )
                                          )
             Plaintiff,                   )
                                          )
v.                                        )
                                          )
THE UNIVERSITY OF NORTH                   )
CAROLINA AT CHAPEL HILL, et al.           )
                                          )
             Defendants.                  )


       BRIEF OF AMICI CURIAE ARCELORMITTAL USA LLC,
ARIEL INVESTMENTS LLC, CAPITOL BROADCASTING COMPANY,
 INC., CISCO SYSTEMS, INC., CUMMINS INC., DUKE UNIVERSITY
  HEALTH SYSTEM, INC., EBAY INC., ELI LILLY AND COMPANY,
ENTERGY CORPORATION, ERNST & YOUNG, GENERAL MOTORS
    LLC, GLAXOSMITHKLINE LLC, THE HERSHEY COMPANY,
 HP INC., IBM CORPORATION, IKEA RETAIL US LLC, KPMG LLP,
   MICROSOFT CORPORATION, NATIONAL ASSOCIATION FOR
   STOCK CAR AUTO RACING, INC., PAYPAL HOLDINGS, INC.,
  PEPSICO, INC., RED HAT, INC., THE REDWOODS GROUP, INC.,
   REPLACEMENTS, LTD., RESEARCH TRIANGLE INSTITUTE,
  TAKEDA PHARMACEUTICALS U.S.A., INC., UNITED AIRLINES,
  INC., AND YUM! BRANDS, INC. IN SUPPORT OF DEFENDANTS’
              MOTION FOR SUMMARY JUDGMENT




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                      INTEREST OF AMICI CURIAE

      Amici are prominent companies and non-profit organizations who do

business in North Carolina and who recruit graduates of The University of

North Carolina at Chapel Hill (UNC) or similar leading institutions of higher

education. Collectively, amici hire hundreds of UNC graduates each year.

      Amici have a substantial interest in this case. In particular, amici

believe that racial and ethnic diversity are indispensable to amici’s

industries. Among its many benefits, diversity fuels collaboration and

innovation, two important ingredients for success in business and scientific

research.

      In addition, amici operate in global marketplaces where employees

must work and collaborate with others from a host of experiences, including

from various racial and ethnic backgrounds. Amici turn to UNC and other

leading universities to recruit students who will thrive in a diverse

environment. Amici do so because business success demands exposure to and

experience with racial and ethnic differences, and many potential employees

specifically benefit from this exposure and experience at the university level.

      These points echo those made in amicus briefs filed by similar

businesses in the seminal U.S. Supreme Court decisions on diversity in

higher education. The Supreme Court has expressly cited and relied on these

points. Grutter v. Bollinger, 539 U.S. 306, 330 (2003) (“[M]ajor American


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businesses have made clear that the skills needed in today’s increasingly

global marketplace can only be developed through exposure to widely diverse

people, cultures, ideas, and viewpoints.”).

      Amici respectfully file this brief in support of Defendants’ motion for

summary judgment to emphasize the essential role that diversity plays in the

vitality of their organizations, and to ensure that colleges and universities

retain flexibility to achieve diversity across multiple dimensions.


                                 ARGUMENT

As the Supreme Court has expressly recognized, racial and ethnic
diversity are key features of business success.

      Racial and ethnic diversity have great significance to amici. The

United States and North Carolina have become more diverse, and that trend

is accelerating. Amici have diverse workforces and operate in diverse

markets. Having personnel who can collaborate and lead effectively across

racial and cultural lines is a business imperative. In addition, diverse teams

have been shown in studies to outperform homogeneous teams because

diversity fosters curiosity, listening, idea generation, collaboration, and

critical thinking.

      It is critical for UNC and other leading universities to have the tools to

formulate a student body that best allows students to fully engage in true

learning and to prepare those students to succeed in today’s marketplace.


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      A.    The United States and North Carolina continue to become
            more racially and ethnically diverse.

      Racial and ethnic diversity in North Carolina, and nationwide, have

grown substantially in recent years. For example, between the 2000 and

2010 censuses, the country’s Hispanic population grew by forty-three percent.

See U.S. Census Bureau, Overview of Race and Hispanic Origin: 2010, 2010

Census Briefs, at 3 (Mar. 2011).1 North Carolina saw its own minority

population grow by almost forty percent in the same period. Id. at 18.

According to the Census Bureau, half of all Americans will belong to a

minority group by 2044. U.S. Census Bureau, Projections of the Size and

Composition of the U.S. Population: 2014 to 2060, at 1 (Mar. 2015).2

      As these points show, the nation’s racial and ethnic diversity will

continue to increase over time. A more diverse population, in turn, yields a

more diverse labor force. In the past few years, the share of racial and ethnic

minority births in the United States passed fifty percent. Kendra Yoshinaga,

Babies of Color Are Now the Majority, Census Says, NPR, July 1, 2016.3



1     https://www.census.gov/prod/cen2010/briefs/c2010br-02.pdf (last visited
Jan. 17, 2019).

2    https://www.census.gov/content/dam/Census/library/publications/2015/
demo/p25-1143.pdf (last visited Jan. 17, 2019).

3     https://www.npr.org/sections/ed/2016/07/01/484325664/babies-of-color-
are-now-the-majority-census-says (last visited Jan. 17, 2019).


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      The consumer marketplace is also more diverse. Even ten years ago,

“worldwide American companies in the Standard & Poor’s 500 (S&P 500) had

more than 55 percent of total income earned outside the United States.”

Business Roundtable, Taxation of American Companies in the Global

Marketplace: A Primer, at 4 (Apr. 2011).4 Inside the United States,

consumers who are racial minorities numbered more than 120 million as of

2015, and are growing at a rate of more than two million per year. Nielsen,

The Multicultural Edge: Rising Super Consumers, at 7 (2015).5


      B.    Amici need employees who are skilled at effectively
            working across racial and cultural lines.

      In light of the changing demographics, amici’s need for personnel who

have the experience and the capability to work successfully in diverse

environments is increasingly important. The commitment of UNC, and of

other leading institutions, to enrolling diverse student bodies is integral to

amici’s effort to achieve this goal.

      The summary-judgment record is replete with testimony by business

executives about the importance of exposure to persons from diverse

backgrounds and viewpoints. Joseph Kenley, a manager at an international



4    https://www.businessroundtable.org/sites/default/files/Taxation_of_
American_Companies.pdf (last visited Jan. 17, 2019).

5     A copy of this report is attached as Exhibit 1.

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consulting firm, testified that experiences with persons from different

cultures are essential to success in consulting, a relationship-focused

industry. Kenley Decl. ¶¶ 12–17 (Ex. 126).6 Engaging with students who

have various backgrounds challenges preconceptions, encourages open-

mindedness and sensitivity, and teaches inclusivity. Id. ¶ 18. Lindsay-Rae

McIntyre, then Vice President of Human Resources and Chief Diversity

Officer at IBM, and now Chief Diversity Officer at Microsoft, reiterated those

points. See McIntyre Decl. ¶¶ 3, 13–14 (Ex. 101). Jonathan Reckford, CEO of

Habitat for Humanity International, emphasized the importance of

employees who can work cross-culturally, cross-functionally, and cross-

geographically. Reckford Decl. ¶¶ 1–3, 15 (Ex. 107). Mr. Reckford

emphasized that employees develop these abilities in college—and do so

through exposure to persons from different cultures, races, and genders. See

id. ¶¶ 15–16.

      Academic leaders at business schools confirm the benefits of a diverse

educational environment. According to Dr. Peter Henry, the Dean of NYU’s

Stern School of Business, it is essential for amici’s personnel to develop cross-

cultural understandings in educational environments like UNC’s. “Exposure

to diversity in an educational environment provides the perspective that

6     All exhibit references in this brief are to the Exhibits to Defendants’
Memorandum of Law in Support of Motion for Summary Judgment (ECF No.
153).

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produces . . . graduates who are going to be effective business professionals.”

Henry Decl. ¶ 12 (Ex. 88). Dr. Joseph DeSimone—a leading authority in

entrepreneurial studies—shared a similar view: “The level of diversity among

students at UNC-CH plays a powerful role in preparing UNC-CH students

for their professional endeavors. This is especially important for students

who have not had much exposure to diverse points of view prior to college.”

DeSimone Decl. ¶ 37 (Ex. 82).

      The summary-judgment record confirms that UNC graduates from

different backgrounds attribute their success in the business, law, tech, and

non-profit sectors to their college interactions with other students from

different backgrounds and viewpoints. See Barcott Decl. ¶ 8 (Ex. 68); Barnes

Decl. ¶¶ 15–16 (Ex. 70); Bilbao Decl. ¶¶ 14–18 (Ex. 73); Henry Decl. ¶¶ 17–

20; McIntyre Decl. ¶¶ 4–5, 9, 15; Reckford Decl.¶ 8; Williams Decl. ¶¶ 10–16

(Ex. 115).

      This evidence is consistent with the Supreme Court’s longtime

assessment of the link between diversity in education and success in

business. As Justice Powell wrote forty years ago, “the nation’s future

depends upon leaders trained through wide exposure to the ideas and mores

of students as diverse as this Nation of many peoples.” Regents of Univ. of

Cal. v. Bakke, 438 U.S. 265, 313 (1978) (quotation omitted). Justice O’Connor

reemphasized this point fifteen years ago. Grutter, 539 U.S. at 330.


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      Amici have witnessed the significance of this principle, and they urge

the Court to consider it in evaluating the parties’ summary-judgment papers.


      C.    Racially and ethnically diverse organizations achieve
            better outcomes by fostering curiosity, critical thinking,
            and collaboration.

      Diverse organizations are simply good business. This is yet another

reason why amici seek to assemble diverse workforces.

      The high performance of diverse teams is well-documented in empirical

research. In one recent study, diverse venture-capital firms made more

profitable investments and had higher overall fund returns than non-diverse

venture-capital firms. Paul Gompers & Silpa Kovvali, The Other Diversity

Dividend, Harv. Bus. Rev. (July–Aug. 2018).7 Another study showed that

diverse teams were fifty-eight percent more likely to price stocks correctly

than were homogenous teams. David Rock & Heidi Grant, Why Diverse

Teams Are Smarter, Harv. Bus. Rev. (Nov. 2016).8 And yet another recent

study found that the companies in the top quartile of gender diversity were

fifteen percent more likely to have financial returns above their industry

median, and companies in the top quartile of racial and ethnic diversity were

7     https://hbr.org/2018/07/the-other-diversity-dividend (last visited Jan.
17, 2019).

8     https://hbr.org/2016/11/why-diverse-teams-are-smarter (last visited
Jan. 17, 2019).


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thirty-five percent more likely to have financial returns above their industry

median. Vivian Hunt et al., Diversity Matters, at 1 (McKinsey & Company

2015).9 “[M]ore diverse companies are better able to win top talent, and

improve their customer orientation, employee satisfaction, and decision

making, leading to a virtuous cycle of increasing returns.” Id.

       Diversity is associated with (1) increased sales revenue, (2) more

customers, (3) greater market share, and (4) greater relative profits. Cedric

Herring, Does Diversity Pay? Race, Gender, and the Business Case for

Diversity, 74 Am. Sociological Rev. 208, 219 (Apr. 2009).10 Diversity can also

positively affect the retention of qualified employees. Kristyn Scott et al.,

The Diverse Organization: Finding Gold at the End of the Rainbow, 50 Hum.

Res. Mgmt. 735, 745, 750 (Nov.–Dec. 2011).

       Several factors may explain these outcomes. In one study, racial

diversity triggered curiosity and listening, while less diverse groups found

comfort and confidence in their similarities. That comfort made for faster

decisions, but decisions that were inferior to the decisions that the diverse

teams reached. Juliet Bourke, Innovation, high performance and diversity,




9      A copy of this report is attached as Exhibit 2.

10     A copy of this study is attached as Exhibit 3.


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Deloitte.11 Another study concluded that diverse groups outperform

homogeneous groups not because of “new ideas,” but because diversity

triggers “more careful information processing” that can be absent in less

diverse groups. Kellogg Insight, Better Decisions Through Diversity (Oct. 1,

2010).12 The same study also demonstrated that when diverse members were

added to collaborative groups, their addition changed the flow of discussion

and increased the number and magnitude of disagreements. Id. The

increased vigor in critical thinking yielded better outcomes. Id.

       These points reverberate in the testimony of business executives in the

summary-judgment record. As Dr. DeSimone explained, homogeneous

groups can thwart problem-solving by fostering “groupthink.” DeSimone

Decl. ¶ 20; see also Mason Decl. ¶ 14 (explaining that organizations reach

better decisions when there are different perspectives at the table helping the

group make those decisions) (Ex. 98). Multiple executives also emphasized

that diverse experiences—including those that are a byproduct of racial and

cultural backgrounds—fuel innovation. See DeSimone Decl. ¶¶ 22, 26, 28;

Mason Decl. ¶ 15 (“Diversity of perspective and background is critical to


11    https://www2.deloitte.com/au/en/pages/human-capital/articles/ creating
-high-performing-leadership-teams.html# (last visited Jan. 17, 2019).

12   https://insight.kellogg.northwestern.edu/article/better_decisions_
through_diversity (last visited Jan. 17, 2019).


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learning and developing critical thinking skills.”); Williams Decl. ¶ 17

(“Diversity of ideas comes from having people around the table who have a

diversity of experiences and perspectives.”).

       This literature is consistent with amici’s longstanding view on the

value of a diverse workforce. For example, IBM proactively recruits

candidates from diverse backgrounds and encourages retention of those

employees through approximately 270 affinity groups worldwide.13 These

initiatives, along with others IBM has pursued for many years, have

expanded minority markets dramatically and led to a virtuous circle of

growth and progress. David A. Thomas, Diversity as Strategy, Harv. Bus.

Rev. (Sept. 2004).14

       Interactions with peers from many different backgrounds, races, ethnic

groups, and experiences also increase awareness of one’s own biases. That

awareness increases one’s sensitivities to and one’s ability to collaborate

effectively with other team members who look differently and come from




13     http://www-03.ibm.com/ibm/history/ibm100/us/en/icons/equalwork
force/ (last visited Jan. 17, 2019).

14     https://hbr.org/2004/09/diversity-as-strategy (last visited Jan. 17, 2019).


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different backgrounds.15 See Kenley Decl. ¶¶ 14, 18. Successful business

leaders are curious about others’ backgrounds and demonstrate a genuine

interest in building relationships with racially and ethnically diverse peers.

See McIntyre Decl. ¶¶ 12–13. Leadership comes from influence, and

influence often requires “relationships with those we do not look like.”

Reckford Decl. ¶ 12.

       In sum, diverse teams can unlock innovation and drive market growth

in a way that homogeneous teams cannot. See, e.g., Sylvia Ann Hewlett et

al., How Diversity Can Drive Innovation, Harv. Bus. Rev. (Dec. 2013).16

Diversity drives innovation by creating an environment where “outside the

box” ideas are heard. Id. This is why “[l]eaders who give diverse voices equal

airtime are nearly twice as likely as others to unleash value-driving insights.”

Id. Amici turn to UNC and other leading universities to recruit these voices.




15    Indeed, implicit bias, or unconscious stereotyping, contributes to the
lack of diversity in many fields, including business and STEM. See Laura
Berger, Unconscious Bias in the Workplace: You Can’t Afford to Ignore It,
Forbes (Mar. 23, 2018), https://www.forbes.com/sites/forbescoachescouncil/
2018/03/23/unconscious-bias-in-the-workplace-you-cant-afford-to-ignore-
it/#4076d9d87660 (last visited Jan. 17, 2019); Kuheli Dutt, How Implicit Bias
and Lack of Diversity Undermine Science, Scientific American (Dec. 17, 2018),
https://blogs.scientificamerican.com/voices/how-implicit-bias-and-lack-of-
diversity-undermine-science/ (last visited Jan. 17, 2019).

16    https://hbr.org/2013/12/how-diversity-can-drive-innovation (last visited
Jan. 17, 2019).

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       D.    Racial and ethnic diversity at universities like UNC is
             especially important to countermand the substantial
             underrepresentation of minorities in STEM fields.

       Finally, several amici face unique challenges in recruiting a diverse

workforce because of underrepresentation of minorities in certain

professional disciplines—especially those in science, technology, engineering

and mathematics, commonly referred to as STEM fields.

       Entry-level STEM positions generally require a degree in a STEM field.

See U.S. Dep’t of Commerce, ESA Issue Brief 05-11, Education Supports

Racial and Ethnic Equality in STEM 4 (Sept. 2011).17 Thus, a college degree

is often a prerequisite to work in a STEM field.

       In recent years, however, the U.S. has failed to produce an ample

supply of workers to meet the growing needs of STEM employers. U.S.

Congress J. Econ. Comm., STEM Education: Preparing for the Jobs of the

Future 3 (Apr. 2012). Estimates show that about 2.4 million STEM jobs went

unfilled in 2018. Smithsonian Science Education Center, The STEM

Imperative (2018).18 This shortage is due, in part, to low numbers of

underrepresented minorities who pursue STEM degrees. See STEM

Education: Preparing for the Jobs of the Future, supra at 5–6.

17    https://files.eric.ed.gov/fulltext/ED523768.pdf (last visited Jan. 17,
2019).

18     https://ssec.si.edu/stem-imperative (last visited Jan. 17, 2019).


                                        13

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       For example, while Hispanics compose about seventeen percent of the

U.S. population and African Americans compose about thirteen percent,

Nat’l Sci. Found., Women, Minorities, and Persons with Disabilities in Science

and Engineering 2 (2017),19 Hispanics receive only ten percent of core STEM

degrees and African Americans only eight percent. U.S. Gov’t Accountability

Office, GAO-14-374, Science, Technology, Engineering, and Mathematics

Education 55 (2014).20

       The workforce numbers are even starker: Hispanics compose about six

percent and African Americans about five percent of those employed in

science and engineering occupations. Nat’l Sci. Bd., Science & Engineering

Indicators 3-113 (2018).21 Put another way, Hispanic and African-American

representation in STEM fields is less than forty percent of the representation

of those groups in the national population.

       Similar disparities persist along gender lines. Although women make

up about fifty percent of the U.S. population, they earn only thirty percent of

STEM degrees and constitute only twenty-four percent of those currently


19   https://www.nsf.gov/statistics/2017/nsf17310/static/downloads/nsf
17310-digest.pdf (last visited Jan. 17, 2019).

20     https://www.gao.gov/assets/670/663079.pdf (last visited Jan. 17, 2019).

21    https://www.nsf.gov/statistics/2018/nsb20181/assets/nsb20181.pdf (last
visited Jan. 17, 2019).


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working in STEM jobs. U.S. Dep’t of Commerce, ESA Issue Brief 06-17,

Women in STEM: 2017 Update 1 (Nov. 2017).22

       This underrepresentation has profound effects. The National Science

Foundation concluded that “[s]ecuring our Nation’s continued economic

prosperity” depends on the “proactive identification and development of

talented young men and women from all demographics.” Nat’l Sci. Bd., NSB-

10-33, Preparing the Next Generation of STEM Innovators 9 (2010).23

       Amici recognize that the causes of this underrepresentation are myriad

and varied. Nevertheless, to close the STEM participation gap for

underrepresented minorities and women, universities like UNC must educate

larger numbers of African-American, Hispanic, and female students who will

enter STEM fields. See Rachel D. Godsil, Why Race Matters in Physics Class,

64 UCLA L. Rev. Discourse 40, 49–50 (2016).

       Amici are taking their own action, as well, to address the

underrepresentation of minorities and women in STEM. IBM has expended

significant resources to promote diversity in STEM, both in its own ranks and

in the educational setting. The company has hosted technology camps for


22    https://www.commerce.gov/sites/default/files/migrated/reports/women-
in-stem-2017-update.pdf (last visited Jan. 17, 2019).

23    https://www.nsf.gov/nsb/publications/2010/nsb1033.pdf (last visited
Jan. 17, 2019).


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minority and female students who have expressed interest in the STEM

fields.24 GlaxoSmithKline offers a summer enrichment program for students

across the country, with particular emphasis on reaching underserved

populations.25

       Other organizations are engaged in similar initiatives. The

Smithsonian Science Education Center has been working with state leaders

and school districts throughout the country to improve the quality of K–12

science education. Smithsonian, Smithsonian Science Education Center

(Aug. 1, 2018).26 Similarly, Girl Scouts has been working with Discovery

Education to spark girls’ interest in STEM by providing STEM curriculum to

educators and Girl Scouts troop leaders across the country. Discovery

Education, Girls Get STEM (2018).27




24   IBM has also been ranked as one of the top fifty workplaces for Native
American STEM professionals.

25    Amici in other fields are taking similar action to address the
underrepresentation of minorities and women in their industries. For
example, Capitol Broadcasting Company has an annual fellowship program
that helps minority students prepare for careers in broadcasting.
26    https://www.si.edu/newsdesk/factsheets/smithsonian-science-education-
center (last visited Jan. 17, 2019).

27     https://www.girlsleadstem.com/girlscouts (last visited Jan. 17, 2019).


                                       16

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      For these initiatives to succeed, universities like UNC must enroll a

diverse student body that can earn STEM degrees. Amici in the STEM field

are dependent on those universities to educate and train their future leaders.


                                CONCLUSION

      Racial and ethnic diversity are necessary for amici to succeed in today’s

business world. Markets will only become more global. North Carolina, and

the country as a whole, will only become more diverse. Racial and ethnic

diversity at leading colleges and universities is critical for businesses in

North Carolina and beyond. Amici implore the Court to consider these

consequences in evaluating the parties’ positions at summary judgment.

      This the 18th day of January, 2019.

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                 STATEMENT PURSUANT TO LR 7.5(d)

       Amici represent that (1) no party’s counsel authored the brief in whole
or in part, (2) no party or party’s counsel contributed money that was
intended to fund preparing or submitting the brief, and (3) no person—other
than amici, its members, or its counsel—contributed money that was
intended to fund preparing or submitting the brief.

      This the 18th day of January, 2019.

                                     /s/ Stephen D. Feldman
                                    Stephen D. Feldman




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                    CERTIFICATE OF WORD COUNT

      This is to certify that the foregoing brief contains fewer than 6,250
words, after excluding the caption, signature lines, and certificate of service.
Therefore, the foregoing brief complies with the length limitations set by
Local Rule 7.3(d). The basis for this certification is the word count feature of
the word processing software used to prepare this brief.

      This the 18th day of January, 2019.

                                      /s/ Stephen D. Feldman
                                     Stephen D. Feldman




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